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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                               NORTHERN DIVISION

JOSEPH THOMAS, et al,

               Plaintiffs

vs.                                           Civil Action No. 3:18cv441-CWR-FKB

PHIL BRYANT, Governor of
Mississippi, et al.,

               Defendants.

                        DECLARATION OF WILLIAM S. COOPER



         1.    My name is William S. Cooper. I have a B.A. in Economics from Davidson

College. As a private consultant, I serve as a demographic and redistricting expert for the

Plaintiffs.

         2.    I have testified at trial as an expert witness on redistricting and demographics in

federal courts in about 38 voting rights cases since the late 1980s. Over 25 of the cases led to

changes in local election district plans. Four of the cases resulted in changes to statewide

legislative boundaries: Rural West Tennessee African-American Affairs Council, Inc. v.

McWherter, No. 92-cv-2407 (W.D. Tenn. 1995); Old Person v. Brown, No. 96-cv-0004 (D.

Mont. 2002); Bone Shirt v. Hazeltine, No. 01-cv-3032 (D.S.D. 2004); and Alabama Legislative

Black Caucus v. Alabama, No. 12-cv-691 (M.D. Ala. 2017). In Bone Shirt v. Hazeltine, the

court adopted the remedial plan I developed – Bone Shirt v. Hazeltine, No. 01-cv-3032 (D.S.D.

2005).



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        3.     During the 2010 redistricting cycle, three election plans that I developed for local

government clients in Mississippi were adopted – Bolivar County Board of Supervisors,

Claiborne County Board of Supervisors, and the City of Grenada City Council.

        4.     Plaintiffs’ counsel in this case have retained me to evaluate the potential to draw a

redistricting plan that would increase the black voting age population in Mississippi Senate

District 22 in order to remedy the Voting Rights Act violation that they claim exists in that

district.

        5.     I have drawn a potential remedial plan that would raise the black voting age

population in Senate District 22 from 50.7% under the 2010 census to 62.0%. Only two districts

would be affected, 22 and 23. This can be done by moving the Madison County precincts in SD

22 to 23 along with nine Yazoo County precincts, and moving Issaquena County and eight

Warren County precincts from 23 to 22. Thus, the Issaquena County Circuit Clerk will simply

allocate that county’s precincts to 22 rather than 23. The Madison County Circuit Clerk will

simply allocate all precincts that were allocated to 22 in the last election to 23 instead. The

Warren County Circuit Clerk will allocate eight of the precincts previously in 23 to 22 and the

Yazoo County Circuit Clerk will allocate nine of the precincts previously in 22 to 23.

        6.     For the 2015 legislative election, the website for the Secretary of State of

Mississippi reports that white incumbent Eugene “Buck” Clarke received 53.85% of the vote and

African-American challenger Joseph Thomas received 46.15% of the vote:

        http://www.sos.ms.gov/Elections-Voting/Pages/2015-General-Election.aspx.



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Pursuant to 28 U.S.C. 1746, I declare under penalty of perjury that the foregoing is true and

correct. Executed on September 18, 2018.




                                              WILLIAM S. COOPER




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